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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         CV 18-9187 PA (AFMx)                                          Date     January 28, 2020
 Title            Juan Garibay v. Angela N. Rodriguez et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                          N/A
                Deputy Clerk                              Court Reporter                       Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                             None                                                 None
 Proceedings:                 IN CHAMBERS - ORDER TO SHOW CAUSE

        On March 5, 2019, defendants filed an Answer to the First Amended Complaint that included a
demand for a jury trial. (Docket No. 23.) On May 15, 2019 the court issued a Schedule of Trial and
Pretrial Dates and set a jury trial for March 3, 2020. (Docket No. 36.) On August 7, 2019, the Court
ordered plaintiff to show cause in writing why the Court should exercise supplemental jurisdiction over
plaintiff’s Unruh Act claim and any other state law claim asserted in the First Amended Complaint.
(Docket No. 40 (citing 28 U.S.C. § 1367(c)).) Plaintiff filed a Response on August 21, 2019. (Docket
No. 42.) The Court then issued an Order on August 27, 2019 declining to exercise supplemental
jurisdiction over plaintiff’s Unruh Act claim and any other construction-related accessibility claim.
(Docket No. 43.) The Court dismissed any such claims without prejudice. (Id.) Plaintiff’s only
remaining claim in this action is for violation of the Americans with Disabilities Act of 1990 (“ADA”).
(Docket No. 13.)

        Because the Court declined to exercise supplemental jurisdiction over plaintiff’s state law claims,
only equitable issues remain, and there is therefore no right to a jury trial. See Fed. R. Civ. P. 39;
Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 79 S. Ct. 948, 953, 3 L. Ed. 2d 988 (1959); see also
Sharer v. Oregon, CV 04-1960 BR, 2007 WL 3348265, at *2-3 (D. Or. Nov. 6, 2007) (concluding that
plaintiff had no right to a jury trial when the only remaining claim was for injunctive relief under the
ADA). Accordingly, this case will now proceed to a bench trial on March 3, 2020. The parties shall
refer to the Court's Civil Trial Scheduling Order (Docket No. 37) for the deadlines to file their Findings
of Fact and Conclusions of Law, and their respective Responses.

         IT IS SO ORDERED.




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